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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

 GARRY STEWART, M.D.                                                       PLAINTIFF

 v.                        CASE NO. 4:17-CV-00338-BSM

 ADVANCED MEDICAL REVIEWS, INC.; J.D.
 HAINES, M.D.; GARY GRAMM, D.O.; DAVID
 CHEN, M.D.; ANNA BELMAN, M.D.; and
 JENNIFER CROWLEY, R.N.                                                DEFENDANTS

             DEFENDANTS’ MOTION IN LIMINE REGARDING URAC

        Defendants, for their motion in limine regarding URAC, state:

        1.    This defamation and intentional interference with business expectancy

action involves third-party medical reviews performed by defendants. Defendant

Advanced Medical Reviews, Inc. (“AMR”) is an independent medical case review and

utilization management company. Defendant physicians are independent

contractors of AMR, who performed some of the reviews that are the subject of this

lawsuit. The specific type of review at issue in this case is a “quality of care review.”

        2.    URAC is a nonprofit accreditation entity that issues certificates to

independent review organizations for specific types of reviews. At all times relevant

to this lawsuit, AMR had the following URAC accreditations: (1) Health Utilization

Management; and (2) Independent Review Organization: Internal & External. The

reviews involved in this lawsuit were “quality of care reviews.” URAC offers no

standards or certifications for “quality of care reviews.”

        3.    Evidence is relevant if it “has any tendency to make a fact more or less

probable than it would be without the evidence” and “the fact is of consequence in



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determining the action.” Fed. R. Evid. 401. “Irrelevant evidence is not admissible.”

Fed. R. Evid. 402. In this case, evidence regarding URAC is irrelevant because there

are no URAC standards that govern the type of reviews that are the subject of this

lawsuit. Therefore, plaintiff should be precluded from referring to URAC standards

at the trial of this case.

        4.    Defendants rely on the following in support of their motion:

              •      Exhibit A – Subpoena issued to URAC;

              •      Exhibit B – March 16, 2018 Letter from URAC’s General
                     Counsel, Ms. Houeida Saad;

              •      Exhibit C – Excerpts from deposition testimony of Ms. Crystal
                     Carvotta-Brown;

              •      Exhibit D – AMR / Conway Regional Medical Center Contract;
                     and

              •      A brief in support.

        WHEREFORE, defendants pray that their motion in limine regarding URAC

standards be granted, that plaintiff be precluded from referring to URAC standards

at the trial of this case, and for all other relief to which they are entitled.



                                           WRIGHT, LINDSEY & JENNINGS LLP
                                           200 West Capitol Avenue, Suite 2300
                                           Little Rock, Arkansas 72201-3699
                                           (501) 371-0808
                                           FAX: (501) 376-9442
                                           E-MAIL: elowther@wlj.com; djung@wlj.com

                                           By     David C. Jung
                                                Edwin L. Lowther, Jr. (81107)
                                                David C. Jung (2013141)
                                                Jessica Pruitt Koehler (2015226)
                                                Attorneys for defendants


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